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               Fill in this information to identify your case and this filing:

 Debtor 1                    Jeffrey Michael Speicher
                             First Name                             Middle Name                     Last Name

 Debtor 2
 (Spouse, if filing)         First Name                             Middle Name                     Last Name


 United States Bankruptcy Court for the:                     DISTRICT OF COLORADO, DENVER DIVISION

 Case number            19-13850-MER                                                                                                                         Check if this is an
                                                                                                                                                              amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                       12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
   Yes.        Where is the property?




 1.1                                                                        What is the property? Check all that apply


        222 Basin Creek Cir
                                                                               Single-family home                             Do not deduct secured claims or exemptions. Put
                                                                                                                               the amount of any secured claims on Schedule D:
                                                                                    Duplex or multi-unit building
        Street address, if available, or other description                                                                    Creditors Who Have Claims Secured by Property .
                                                                                    Condominium or cooperative
                                                                              
                                                                                   Manufactured or mobile home
                                                                                                                               Current value of the       Current value of the
        Durango                           CO        81301                          Land                                       entire property?           portion you own?
        City                              State          ZIP Code                  Investment property                              $650,000.00                 $650,000.00
                                                                                   Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                                   Other                                      (such as fee simple, tenancy by the entireties, or
                                                                            Who has an interest in the property? Check one     a life estate), if known.
                                                                                   Debtor 1 only                              100%
        La Plata                                                                   Debtor 2 only
        County                                                                     Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                               At least one of the debtors and another           (see instructions)
                                                                            Other information you wish to add about this item, such as local
                                                                            property identification number:




Official Form 106A/B                                                              Schedule A/B: Property                                                                   page 1
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 Debtor 1          Speicher, Jeffrey Michael                                                                            Case number (if known)          19-13850-MER
        If you own or have more than one, list here:
 1.2                                                                     What is the property? Check all that apply

                                                                                 Single-family home                           Do not deduct secured claims or exemptions. Put
        1210 E 28th Ave # 6                                                                                                    the amount of any secured claims on Schedule D:
        Street address, if available, or other description
                                                                                 Duplex or multi-unit building
                                                                                                                               Creditors Who Have Claims Secured by Property .
                                                                             Condominium or cooperative
                                                                                 Manufactured or mobile home
                                                                                                                               Current value of the         Current value of the
        Denver                           CO         80205-4407                   Land                                         entire property?             portion you own?
        City                             State           ZIP Code            Investment property                                    $550,000.00                   $550,000.00
                                                                                 Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                                 Other                                        (such as fee simple, tenancy by the entireties, or
                                                                         Who has an interest in the property? Check one        a life estate), if known.
                                                                                 Debtor 1 only
        Denver                                                                   Debtor 2 only
        County                                                                   Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                             At least one of the debtors and another             (see instructions)
                                                                         Other information you wish to add about this item, such as local
                                                                         property identification number:

                                                                         Rental Property


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here...........................................................................=>                         $1,200,000.00
 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
   Yes

  3.1     Make:         Harley Davidson                             Who has an interest in the property? Check one             Do not deduct secured claims or exemptions. Put
                                                                                                                               the amount of any secured claims on Schedule D:
          Model:        Road Glide                                  Debtor 1 only                                             Creditors Who Have Claims Secured by Property .
          Year:         2018                                         Debtor 2 only                                            Current value of the         Current value of the
          Approximate mileage:                          6000         Debtor 1 and Debtor 2 only                               entire property?             portion you own?
          Other information:                                         At least one of the debtors and another

                                                                     Check if this is community property                              $31,000.00                    $31,000.00
                                                                       (see instructions)



  3.2     Make:         Maserati                                    Who has an interest in the property? Check one             Do not deduct secured claims or exemptions. Put
                                                                                                                               the amount of any secured claims on Schedule D:
          Model:        Levante                                     Debtor 1 only                                             Creditors Who Have Claims Secured by Property .
          Year:         2018                                         Debtor 2 only                                            Current value of the         Current value of the
          Approximate mileage:                        10964          Debtor 1 and Debtor 2 only                               entire property?             portion you own?
          Other information:                                         At least one of the debtors and another

                                                                     Check if this is community property                              $54,000.00                    $54,000.00
                                                                       (see instructions)




Official Form 106A/B                                                         Schedule A/B: Property                                                                          page 2
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 Debtor 1         Speicher, Jeffrey Michael                                                                  Case number (if known)    19-13850-MER

  3.3    Make:       MINI                                   Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                    the amount of any secured claims on Schedule D:
         Model:      Cooper Clubman                         Debtor 1 only                                          Creditors Who Have Claims Secured by Property .
         Year:       2016                                    Debtor 2 only                                         Current value of the      Current value of the
         Approximate mileage:                 36768          Debtor 1 and Debtor 2 only                            entire property?          portion you own?
         Other information:                                  At least one of the debtors and another

                                                             Check if this is community property                          $16,000.00                  $16,000.00
                                                               (see instructions)



  3.4    Make:       Ford                                   Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                    the amount of any secured claims on Schedule D:
         Model:      Pickup-Raptor                          Debtor 1 only                                          Creditors Who Have Claims Secured by Property .
         Year:       2018                                    Debtor 2 only                                         Current value of the      Current value of the
         Approximate mileage:                 26000          Debtor 1 and Debtor 2 only                            entire property?          portion you own?
         Other information:                                  At least one of the debtors and another

                                                             Check if this is community property                          $67,500.00                  $67,500.00
                                                               (see instructions)



  3.5    Make:       Mercedes-Benz                          Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                    the amount of any secured claims on Schedule D:
         Model:      Sprinter                               Debtor 1 only                                          Creditors Who Have Claims Secured by Property .
         Year:       2015                                    Debtor 2 only                                         Current value of the      Current value of the
         Approximate mileage:                 55097          Debtor 1 and Debtor 2 only                            entire property?          portion you own?
         Other information:                                  At least one of the debtors and another

                                                             Check if this is community property                          $30,000.00                  $30,000.00
                                                               (see instructions)



  3.6    Make:       Harley Davidson                        Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                    the amount of any secured claims on Schedule D:
         Model:      Sportster                              Debtor 1 only                                          Creditors Who Have Claims Secured by Property .
         Year:       2003                                    Debtor 2 only                                         Current value of the      Current value of the
         Approximate mileage:                   9850         Debtor 1 and Debtor 2 only                            entire property?          portion you own?
         Other information:                                  At least one of the debtors and another
        Daughter's motorcycle
                                                             Check if this is community property                            $1,000.00                  $1,000.00
                                                               (see instructions)



  3.7    Make:       PIA                                    Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                    the amount of any secured claims on Schedule D:
         Model:      Scooter                                Debtor 1 only                                          Creditors Who Have Claims Secured by Property .
         Year:       2005                                    Debtor 2 only                                         Current value of the      Current value of the
         Approximate mileage:                    450         Debtor 1 and Debtor 2 only                            entire property?          portion you own?
         Other information:                                  At least one of the debtors and another

                                                             Check if this is community property                              $400.00                     $400.00
                                                               (see instructions)



  3.8    Make:       BMW                                    Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                    the amount of any secured claims on Schedule D:
         Model:      Motorcycle                             Debtor 1 only                                          Creditors Who Have Claims Secured by Property .
         Year:       2003                                    Debtor 2 only                                         Current value of the      Current value of the
         Approximate mileage:                   7000         Debtor 1 and Debtor 2 only                            entire property?          portion you own?
         Other information:                                  At least one of the debtors and another

                                                             Check if this is community property                              $750.00                     $750.00
                                                               (see instructions)




Official Form 106A/B                                                 Schedule A/B: Property                                                                    page 3
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 Debtor 1         Speicher, Jeffrey Michael                                                                    Case number (if known)     19-13850-MER
4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

    No
   Yes
  4.1    Make:       Artic Cat                              Who has an interest in the property? Check one
                                                                                                                       Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Snow Pro                               Debtor 1 only                                             Creditors Who Have Claims Secured by Property .
         Year:       2010                                    Debtor 2 only                                            Current value of the      Current value of the
                                                             Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                  At least one of the debtors and another
                                                             Check if this is community property                              $1,000.00                   $1,000.00
         2 snowmobiles                                         (see instructions)


  4.2    Make:       Starcraft                              Who has an interest in the property? Check one
                                                                                                                       Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Pop Out Toy Hauler                     Debtor 1 only                                             Creditors Who Have Claims Secured by Property .
         Year:       2003                                    Debtor 2 only                                            Current value of the      Current value of the
                                                             Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                  At least one of the debtors and another
                                                             Check if this is community property                              $1,500.00                   $1,500.00
                                                               (see instructions)


  4.3    Make:       Ski Doo                                Who has an interest in the property? Check one
                                                                                                                       Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Bombardier                             Debtor 1 only                                             Creditors Who Have Claims Secured by Property .
         Year:       2006                                    Debtor 2 only                                            Current value of the      Current value of the
                                                             Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                  At least one of the debtors and another
                                                             Check if this is community property                                 $500.00                     $500.00
                                                               (see instructions)


  4.4    Make:       ALKO                                   Who has an interest in the property? Check one
                                                                                                                       Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Trailer                                Debtor 1 only                                             Creditors Who Have Claims Secured by Property .
         Year:       2017                                    Debtor 2 only                                            Current value of the      Current value of the
                                                             Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                  At least one of the debtors and another
                                                             Check if this is community property                                 $500.00                     $500.00
                                                               (see instructions)




 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
   .you have attached for Part 2. Write that number here.............................................................................=>              $204,150.00

 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                            Current value of the
                                                                                                                                              portion you own?
                                                                                                                                              Do not deduct secured
                                                                                                                                              claims or exemptions.
6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
    No
    Yes.     Describe.....
                                   Furniture                                                                                                                $1,000.00


7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
               including cell phones, cameras, media players, games
    No
    Yes.     Describe.....


Official Form 106A/B                                                 Schedule A/B: Property                                                                       page 4
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 Debtor 1          Speicher, Jeffrey Michael                                                                                       Case number (if known)   19-13850-MER

                                            Various electronics                                                                                                             $500.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections; other
               collections, memorabilia, collectibles
    No
     Yes.       Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools; musical
             instruments
    No
    Yes.        Describe.....
                                            Raft, bicycles and camping gear                                                                                               $2,750.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
    Yes.        Describe.....
                                            Shot guns; hand guns; hunting rifles (approximately 12 guns)                                                                  $5,000.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
    Yes.        Describe.....
                                            Clothes, leather coat                                                                                                           $300.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
    Yes.        Describe.....
                                            Watches and silver                                                                                                            $1,700.00


13. Non-farm animals
     Examples: Dogs, cats, birds, horses
    No
     Yes.       Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
    No
     Yes.       Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached for
     Part 3. Write that number here ..............................................................................                                                   $11,250.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                  Current value of the
                                                                                                                                                              portion you own?
                                                                                                                                                              Do not deduct secured
                                                                                                                                                              claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
    Yes................................................................................................................
                                                                                                                                      Cash on hand                       $15,000.00



Official Form 106A/B                                                                     Schedule A/B: Property                                                                page 5
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 Debtor 1       Speicher, Jeffrey Michael                                                             Case number (if known)    19-13850-MER
17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                 institutions. If you have multiple accounts with the same institution, list each.
    No
   Yes........................                                     Institution name:


                                     17.1.    Checking Account          Alpine Bank, Youth Checking 9324*                                              $86.76



                                     17.2.    Checking Account          Alpine Bank, 4136*                                                         $2,071.79

                                                                        Alpine Bank, Camulus Irrevocable Gift Trust,
                                     17.3.    Checking Account          6297*                                                                      $2,750.26



                                     17.4.    Checking Account          TBK Bank, SSB, 3284                                                     $100,772.48

                                  *based on latest statement available
18. Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    No
   Yes..................           Institution or issuer name:
                                             Wells Fargo Advisors, #6532 (Mutual Funds)*                                                           $2,476.14

                                             Wells Fargo Advisors, #8036 (Stocks)*                                                               $93,767.54

                                             Wells Fargo Advisors #8297 (Mutual Funds)*                                                            $4,750.59
                                             *based on latest statement available
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
     joint venture
    No
     Yes.    Give specific information about them...................
                                    Name of entity:                                                    % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    No
    Yes. Give specific information about them
                                        Issuer name:
                                        Cashier's Check in the name of Jeffrey Speicher                                                          $20,000.00

                                        Cashier's Check in the name of Jeffrey Speicher                                                          $30,000.00


21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
    Yes. List each account separately.
                                     Type of account:                   Institution name:
                                     IRA                                Wells Fargo Advisors*                                                    $93,421.00

                                     IRA                                Wells Fargo Advisors*                                                   $261,632.74

                                     401(k) or Similar Plan             Wells Fargo Advisors*                                                   $493,932.00

                                     Additional Account                 Wells Fargo. Deferred Compensation
                                                                        (Vested)*                                                               $657,000.00




Official Form 106A/B                                                Schedule A/B: Property                                                              page 6
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 Debtor 1        Speicher, Jeffrey Michael                                                                  Case number (if known)   19-13850-MER
22. Security deposits and prepayments
     Your share of all unused deposits you have made so that you may continue service or use from a company
     Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    No
     Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    No
     Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
     No
    Yes.............     Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):
                                   Wells Fargo Advisors (ESA Mutual Funds #4179)*                                                                 $19,560.11

                                   Wells Fargo Advisors (529 Mutual Funds #5706)*                                                                 $58,514.82

                                   Wells Fargo Advisors (529 Mutual Funds #5733)*                                                                 $36,600.24

                                   Wells Fargo Advisors (ESA Mutual Funds #1069)*                                                                 $19,544.84
                                   *based on latest statement available
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
    No
    Yes.      Give specific information about them...
                                               The Jeffrey Speicher Living Trust                                                                  $65,000.00

                                               Partial beneficiary of the Thess Ekberg Living Trust                                                     $0.00


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
     Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    No
     Yes.     Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    No
     Yes.     Give specific information about them...

 Money or property owed to you?                                                                                                        Current value of the
                                                                                                                                       portion you own?
                                                                                                                                       Do not deduct secured
                                                                                                                                       claims or exemptions.

28. Tax refunds owed to you
    No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’
                                                                                                               compensation, Social Security benefits;
              unpaid loans you made to someone else
    No
    Yes.      Give specific information..
                                                     Unpaid wages for last pay period to May 7, 2019                                              $31,000.00


Official Form 106A/B                                                 Schedule A/B: Property                                                             page 7
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31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’
                                                                                                     s, or renter’
                                                                                                                 s insurance
    No
    Yes. Name the insurance company of each policy and list its value.
                                           Company name:                                                         Beneficiary:                                 Surrender or refund
                                                                                                                                                              value:
                                           Wells Fargo Basic Life ($400,000)                                     Estate                                                        $0.00

                                           Wells Fargo Accidental Death
                                           ($600,000)                                                            Estate                                                        $0.00

                                           Wells Fargo Optional Term Life
                                           ($3,000,000)                                                          Estate                                                        $0.00

                                           Prudential Life ($1,000,000)                                          Estate                                                        $0.00


32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because someone has
     died.
    No
     Yes.     Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
    No
     Yes.     Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
    No
    Yes.      Describe each claim.........
                                                        Wells Fargo Advisors - Note Claims                                                                                unknown

                                                        Malpractice Settlement Recovery Set Off Against Roddess
                                                        Ekberg, Timothy Ekberg, Sarah and Justin Fierstein                                                             $300,000.00


35. Any financial assets you did not already list
    No
     Yes.     Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached for
     Part 4. Write that number here.....................................................................................................................         $2,307,881.31

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
    No. Go to Part 6.
   Yes.     Go to line 38.


                                                                                                                                                             Current value of the
                                                                                                                                                             portion you own?
                                                                                                                                                             Do not deduct secured
                                                                                                                                                             claims or exemptions.

38. Accounts receivable or commissions you already earned
    No
     Yes.     Describe.....


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
    No
Official Form 106A/B                                                        Schedule A/B: Property                                                                             page 8
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 Debtor 1        Speicher, Jeffrey Michael                                                                                  Case number (if known)         19-13850-MER

     Yes.     Describe.....


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
    No
    Yes.      Describe.....

                                      Desk, computer                                                                                                                  $1,100.00


41. Inventory
    No
     Yes.     Describe.....


42. Interests in partnerships or joint ventures
    No
     Yes.     Give specific information about them...................
                                      Name of entity:                                                                         % of ownership:


43. Customer lists, mailing lists, or other compilations
   No.
    Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

              No
               Yes.     Describe.....


44. Any business-related property you did not already list
    No
     Yes. Give specific information.........


 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached for
     Part 5. Write that number here.....................................................................................................................            $1,100.00

 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
      No. Go to Part 7.
       Yes.    Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership
    No
    Yes. Give specific information.........
                                           Burial lot and maintenance, Greenmount Cemetery of the City of
                                           Durango, Colorado                                                                                                              $800.00


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                            $800.00




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           Case:19-13850-MER Doc#:22 Filed:05/21/19                                                                Entered:05/21/19 18:45:48 Page10 of 10
 Debtor 1         Speicher, Jeffrey Michael                                                                                             Case number (if known)   19-13850-MER
 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................           $1,200,000.00
 56. Part 2: Total vehicles, line 5                                                                        $204,150.00
 57. Part 3: Total personal and household items, line 15                                                    $11,250.00
 58. Part 4: Total financial assets, line 36                                                             $2,307,881.31
 59. Part 5: Total business-related property, line 45                                                        $1,100.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                   $0.00
 61. Part 7: Total other property not listed, line 54                                             +            $800.00

 62. Total personal property. Add lines 56 through 61...                                                 $2,525,181.31                Copy personal property total       $2,525,181.31

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                     $3,725,181.31




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